            Case 19-20427                Doc 70         Filed 03/02/21 Entered 03/02/21 08:17:56                         Desc Ch 13
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Information to identify the case:
Debtor 1                Troy P Mastronardi                                              Social Security number or ITIN   xxx−xx−9848

                        First Name   Middle Name   Last Name                            EIN    _ _−_ _ _ _ _ _ _

Debtor 2                                                                                Social Security number or ITIN _ _ _ _
(Spouse, if filing)     First Name   Middle Name   Last Name
                                                                                        EIN    _ _−_ _ _ _ _ _ _

United States Bankruptcy Court District of Utah

Case number: 19−20427 RKM                               Chapter 13             Petition date: 1/24/19




Order of Discharge                                                                                                                     12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

               Troy P Mastronardi


               3/2/21                                                         By the court:             R. Kimball Mosier
                                                                                                        United States Bankruptcy Judge



Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                                 Most debts are discharged
                                                                               Most debts are covered by the discharge, but not all.
                                                                               Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts                                      liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                      In a case involving community property: Special rules
attempt to collect a discharged debt from the                                  protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                              spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                    case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                              Some debts are not discharged
debtors by mail, phone, or otherwise in any                                    Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                          ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                          ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                    ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                              U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                         523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                          the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                              For more information, see page 2




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    ♦ debts that the bankruptcy court has                       ♦ debts for restitution, or damages,
      decided or will decide are not discharged                   awarded in a civil action against the
      in this bankruptcy case;                                    debtor as a result of malicious or willful
                                                                  injury by the debtor that caused
                                                                  personal injury to an individual or the
    ♦ debts for restitution, or a criminal fine,                  death of an individual; and
      included in a sentence on debtor's criminal
      conviction;
                                                                ♦ debts for death or personal injury
                                                                  caused by operating a vehicle while
    ♦ some debts which the debtors did not                        intoxicated.
      properly list;

                                                         In addition, this discharge does not stop
    ♦ debts provided for under 11 U.S.C. §               creditors from collecting from anyone else who
      1322(b)(5) and on which the last payment           is also liable on the debt, such as an insurance
      or other transfer is due after the date on         company or a person who cosigned or
      which the final payment under the plan             guaranteed a loan.
      was due;


    ♦ debts for certain consumer purchases                This information is only a general
      made after the bankruptcy case was filed if         summary of a chapter 13 discharge; some
      obtaining the trustee's prior approval of           exceptions exist. Because the law is
      incurring the debt was practicable but was          complicated, you should consult an
      not obtained;                                       attorney to determine the exact effect of
                                                          the discharge in this case.




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